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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
KAREN EUBANKS,

                             Plaintiff,

         -v-
                                                       CIVIL ACTION NO.: 18 Civ. 7877 (LJL) (SLC)

                                                                         ORDER
NEW YORK CITY DEPARTMENT OF EDUCATION, et
al.,

                             Defendants.


SARAH L. CAVE, United States Magistrate Judge.

         Plaintiff has not responded to Defendants' May 26, 2020 Motion for Summary Judgment

(ECF No. 40) ("Motion") notwithstanding that the Court has granted her five prior extensions.

(ECF Nos. 47, 49, 52, 54, 58). Accordingly, as warned in the Court’s prior order, the Motion is

deemed unopposed and will be decided in due course. (ECF No. 58). The Clerk of Court is

respectfully directed to mail a copy of this order to Eubanks at the address below.


Dated:         New York, New York
               January 11, 2021

                                                    SO ORDERED



                                                    _________________________
                                                    SARAH L. CAVE
                                                    United States Magistrate Judge


Mail To:       Karen Eubanks
               70 Lasalle Ave.
               New York, NY 10027
